Case 19-61688-wlh         Doc 121 Filed 09/14/19 Entered 09/15/19 01:15:21                  Desc
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   IT IS ORDERED as set forth below:



    Date: September 12, 2019
                                                           _____________________________________
                                                                      Wendy L. Hagenau
                                                                 U.S. Bankruptcy Court Judge

_______________________________________________________________


                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                         )       CASE NO. 19-61688-WLH
                                                )
 EAT HERE BRANDS, LLC, et al.,                  )       CHAPTER 11 jointly administered
                                                )
                        Debtor.                 )       JUDGE WENDY L. HAGENAU
                                                )

                            ORDER OF ADMISSION PRO HAC VICE

          It appearing to the Court that Kate Ellis states under penalty of perjury she meets the

 requirements for admission pro hac vice as set forth in Local Rule 9010-2 and is in good standing

 and eligible to practice in all courts to which admitted, it is therefore

          ORDERED that the petition of Kate Ellis to appear pro hac vice on behalf of FreshPoint

 Atlanta, Inc., FreshPoint North Carolina, Inc. (t/a FreshPoint Raleigh and t/a FreshPoint Nashville,

 Inc.), Sunrise Fresh Produce, LLC (t/a Sunrise Jackson), Sysco Central Alabama, Inc., Sysco

 Charlotte, LLC, Sysco Knoxville, LLC, Sysco Memphis, LLC, Sysco Jackson, LLC and Creation

 Gardens, Inc. in the United States Bankruptcy Court, Northern District of Georgia, in the above-

 referenced case is granted.

                                      ### END OF ORDER ###


                                                    1
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 DISTRIBUTION LIST

 Eat Here Brands LLC
 9755 Dogwood Rd, Ste 200
 Roswell, GA 30075

 Darryl S. Laddin
 Michael F. Holbein
 Sean C. Kulka
 Arnall Golden Gregory LLP
 171 17th St NW, Ste 2100
 Atlanta, GA 30363-1031

 Thomas Wayne Dworschak
 Office of the U. S. Trustee
 75 Ted Turner Dr SW, Rm 362
 Atlanta, GA 30303

 Kate Ellis
 McCarron & Diess
 4530 Wisconsin Ave NW
 Washington, DC 20011

 Kevin A. Maxim
 The Maxim Law Firm PC
 1718 Peachtree St NW, Ste 599
 Atlanta, GA 30309




                                         2
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                                               United States Bankruptcy Court
                                               Northern District of Georgia
In re:                                                                                                     Case No. 19-61688-wlh
Eat Here Brands LLC                                                                                        Chapter 11
Babalu Atlanta #1 LLC
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 113E-9                  User: jlc                          Page 1 of 2                          Date Rcvd: Sep 12, 2019
                                      Form ID: pdf411                    Total Noticed: 9


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 14, 2019.
db             +Eat Here Brands LLC,    9755 Dogwood Road,    Suite 200,   Roswell, GA 30075,
                 UNITED STATES 30075-4663
aty            +Kate Ellis,    McCarron & Diess,   4530 Wisconsin Ave NW,    Suite 301,
                 Washington, DC 20016-4667
               +Eat Here Brands LLC,    9755 Dogwood Rd, Ste 200,    Roswell, GA 30075-4663
               +Kate Ellis,    McCarron & Diess,   4530 Wisconsin Ave NW,    Washington, DC 20016-4627
               +Kevin A. Maxim,    The Maxim Law Firm PC,    1718 Peachtree St NW, Ste 599,
                 Atlanta, GA 30309-2454
                Michael F. Holbein,    Arnall Golden Gregory LLP,    171 17th St NW, Ste 2100,
                 Atlanta, GA 30363-1031
                Sean C. Kulka,    Arnall Golden Gregory LLP,    171 17th St NW, Ste 2100,
                 Atlanta, GA 30363-1031

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
                E-mail/Text: bkrfilings@agg.com Sep 12 2019 22:17:32     Darryl S. Laddin,
                 Arnall Golden Gregory LLP,   171 17th St NW, Ste 2100,   Atlanta, GA 30363-1031
               +E-mail/Text: ustpregion21.at.ecf@usdoj.gov Sep 12 2019 22:18:47      Thomas Wayne Dworschak,
                 Office of the U. S. Trustee,   75 Ted Turner Dr SW, Rm 362,    Atlanta, GA 30303-3330
                                                                                             TOTAL: 2

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 14, 2019                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 12, 2019 at the address(es) listed below:
              Constance L. Young   on behalf of Creditor   HGKL Investments Series, LLC - Series I
               constance.young@wbd-us.com, Stephanie.hanley@wbd-us.com;Janice.phillips@wbd-us.com
              Darryl S. Laddin   on behalf of JointAdmin Debtor   Babalu Atlanta #2 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin   on behalf of Debtor   Babalu Atlanta #1 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin   on behalf of Debtor   Babalu, LLC bkrfilings@agg.com, darryl.laddin@agg.com
              Darryl S. Laddin   on behalf of JointAdmin Debtor   Babalu Memphis #2 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin   on behalf of JointAdmin Debtor   Babalu, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin   on behalf of JointAdmin Debtor   Babalu Atlanta #1 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin   on behalf of Debtor   Babalu Atlanta #2 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin   on behalf of Debtor   Eat Here Brands LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin   on behalf of Debtor   Babalu Birmingham #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin   on behalf of JointAdmin Debtor   Babalu Birmingham #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin   on behalf of Debtor   Babalu Knoxville #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin   on behalf of Debtor   Babalu Memphis #2 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
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District/off: 113E-9          User: jlc                    Page 2 of 2                  Date Rcvd: Sep 12, 2019
                              Form ID: pdf411              Total Noticed: 9


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Darryl S. Laddin    on behalf of JointAdmin Debtor    Babalu Memphis #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor    Babalu Memphis #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor    Babalu Knoxville #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Ewing, Scott - Omni Management Group     on behalf of Claims Agent   Omni Management Group, Inc.
               sewing@omnimgt.com, ecf@omnimgt.com
              Ewing, Scott - Omni Management Group     on behalf of Interested Party   Omni Management Group
               sewing@omnimgt.com, ecf@omnimgt.com
              Gwendolyn J Godfrey    on behalf of Creditor    Origin Bank ggodfrey@mmmlaw.com,
               dcassidy@mmmlaw.com
              Hal Jordan Leitman    on behalf of Creditor    Federal Realty Investment Trust
               hleitman@rlklawfirm.com,
               swenger@rlklawfirm.com;yalamin@rlklawfirm.com;lawclerk@rlklawfirm.com;R71213@notify.bestcase.com
              J. Hayden Kepner, Jr.    on behalf of Creditor Committee    Official Committee of Unsecured
               Creditors hkepner@swlawfirm.com,
               rwilliamson@swlawfirm.com;centralstation@swlawfirm.com;fharris@swlawfirm.com
              Jeffrey R. Barber    on behalf of Creditor    Fondren Place Development Company, LLC
               jbarber@joneswalker.com, kbrabston@joneswalker.com
              Kelly E. Waits    on behalf of Creditor    Fritz Farm Retail Co., LLC, as assignee of Lexington
               Retail Company, L.L.C. kwaits@burr.com
              Kevin A. Maxim    on behalf of Creditor    FreshPoint North Carolina, Inc. (t/a FreshPoint Raleigh
               and t/a FreshPoint Nashville, Inc.) kmaxim@maximlawfirm.com, kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Jackson, LLC kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    FreshPoint Atlanta, Inc. kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Charlotte, LLC kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sunrise Fresh Produce, LLC (t/a Sunrise Jackson)
               kmaxim@maximlawfirm.com, kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Memphis, LLC kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Central Alabama, Inc. kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Creation Gardens, Inc. kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Knoxville, LLC kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Lindsay P. S. Kolba    on behalf of U.S. Trustee    United States Trustee lindsay.p.kolba@usdoj.gov,
               lisa.maness@usdoj.gov
              Michael F. Holbein    on behalf of Debtor    Eat Here Brands LLC michael.holbein@agg.com,
               angela.ford@agg.com;carol.stewart@agg.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor    Babalu Atlanta #2 LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor    Babalu, LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of Debtor    Eat Here Brands LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor    Babalu Atlanta #1 LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor    Babalu Memphis #1, LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor    Babalu Memphis #2 LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor    Babalu Birmingham #1, LLC
               r.mercer@swtwlaw.com, d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor    Babalu Knoxville #1, LLC
               r.mercer@swtwlaw.com, d.hopkins@swtwlaw.com
              Sean C. Kulka    on behalf of Debtor    Eat Here Brands LLC sean.kulka@agg.com
              Stuart Freeman Wilson-Patton    on behalf of Creditor    TN Dept of Revenue agbankgeorgia@ag.tn.gov,
               Stuart.Wilson-Patton@ag.tn.gov
              Theodore N. Stapleton    on behalf of Creditor    S.A.R. & Associates, Inc. tstaple@tstaple.com
                                                                                               TOTAL: 45
